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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )           CASE NO. 8:12CR33
                                             )
                     Plaintiff,              )
                                             )
       vs.                                   )                    ORDER
                                             )
TODD PAUL HAYES.                             )
                                             )
                     Defendant.              )

       This matter is before the Court on the Defendant’s Motion to File Objection out of

Time, to Seek a Downward Departure or Variance, to Assert §3553 Sentencing Factors

and to Continue Sentencing (Filing No. 79). The motion does not indicate how much

additional time is needed, nor does it state if the motion is unopposed by the government.

Therefore,

       IT IS ORDERED that Defendant’s Motion to File Objection out of Time, to Seek a

Downward Departure or Variance, to Assert §3553 Sentencing Factors and to Continue

Sentencing (Filing No. 79) will granted in part and denied in part as follows:

       1.     The deadline for the Defendant to file his objections and motion for departure

              is extended to October 15, 2012;

       2.     The Court’s Tentative Findings will be due on October 16, 2012; and

       3.     The sentencing hearing shall remain as scheduled: Monday, October 22,

              2012, at 2:00 p.m.

       DATED this 3rd day of October, 2012.

                                                 BY THE COURT:


                                                 s/Laurie Smith Camp
                                                 Chief United States District Judge
